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                          UN ITED ST ATE S D ISTR ICT C O U R T
                          SO U TH ER N D ISTR ICT O F FLO R ID A

                                   No.       .        .
                                                            gsgj-A odvgn
 CRIM INAL COU LAINT
                                   /

                               CR IM INA L C O V ER SH EET


       D id thism atteroriginate from a m atterpending in the N orthern Region ofthe United
       StatesA ttorney's O ftice priorto October 14,2003?           Y es X      No

       D id thism atteroriginate from a m atterpending in the CentralRegion ofthe United States
       Attorney'sO ffice priorto Septem ber 1,2007?            Y es      Y    No


                                           Respectfully subm itted,

                                           A RIAN A FAJA RD O OR SHA N
                                           UN IT     TA T           EY


                                    By:
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                                           A ssistantU nited StatesA ttorney
                                           Southern D istrictofFlorida
                                           Florida BarN o.91337
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AO 91(Rev.08/09) CriminalComplaint

                                  U NITED STATES D ISTRICT C OURT
                                                          forthe
                                               Southern DistrictofFlorida

               United StatesofAmerica                        )
                             V.                              )
                      Akrum Alrahib,
                                                             ) casexo.!j-(v)-Oyslq -ovoép.
                                                             )
                                                             )

                                                CRIM INAL COM PLAINT

        1,thecomplainantinthiscase,statethatthefollow ing istruetothebestofmy know ledgeand belief.
Onoraboutthedatets)of Jul y22,2019-August2,2019 inthecountyof                             Miami-Dade            inthe
   Southern    Districtof     Fl
                               orida        ,thedefendantts)violated:
           CodeSection                                               OffenseDescri
                                                                                 ption
18 U.S.C.j1512(b)                          Witnesstam pering in connectionw i than officialproceeding and Iaw
                                           enforcementinvestigation,in violation ofTi
                                                                                    tle 18,United StatesCode,
                                           Section 1512(b)(1),(b)(2),and (b)(3)




        Thiscriminalcom plaintisbased on these facts:
SEE ATTACHED AFFIDAV I
                     T.




        V Continuedontheattachedsheet.


                                                                                   Complainant'
                                                                                              ssignature

                                                                            John iddons S ecialA ent IRS-C I
                                                                                   Printed nameandtitle

Swornto before meand signed in my presence.


oate,             .   ?.7 ?6ïT
                         l                                                           Judge'
                                                                                          ssignature

City and state:                      Miami,Florida                      Jon than Goodm an,U.S.M a istrate Jud e
                                                                                   Printed nam eandtitle
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  A FFIDA V IT IN SUPPO R T O F CR IM IN AL CO M PLA IN T AN D AR R EST W A RR AN T

        1,John Siddons,being duly sw orn hereby depose and say:


                      INT RO DU C TIO N A N D A G EN T B A CK G R O U ND


               Y our affiant is a Special A gent w ith the lnternal R evenue Service, Crim inal

 lnvestigation Divisiop (lRS-Cl).1havebeen so employed sinceSeptember15,2011.My duties
 asa SpecialA gentinclude the investigation ofcrim inalviolations ofthe lnternalRevenue Code,

 codified atTitle 26 ofthe U nited States Code,and crim inalviolations ofTitles 18 and 31 of the

 United StatesCode.

               Your aftiant has personally conducted or assisted in dozens of investigations

 pertaining to crim inal violations of the Internal R evenue Code.M any of these investigations

 focusedon individualswhoprovidedfalseinformation to thelnternalRevenueService(IRS)by
 falsifying Federalincom e tax returns.

               Your affiant has received training at the Federal Law Enforcem ent Training

 Center in G lynco, Georgia, and at the N ational Crim inal lnvestigator Training A cadem y

 (NCITA) in Glynco, Georgia. I graduated from NCITA'S Special Agent Investigative
 Techniques program in M arch 2012.D uring the course ofthatprogram ,youraffiantstudied law

 enforcem ent and crim inal investigation techniques involving forensic accounting, search and

 seizure,tax evasion,and otherviolations ofthe lnternalRevenue law s.

        4.     Yolzr affiant was previously assigned to the IRS-CI W ashington, D .C. O ffice,

 where 1 served on a long-term detail w ith the A lcohol and Tobacco Tax and Trade Bureau's

 (TTB's)excise tax group.TTB'Sexcise tax group investigates criminalviolationsrelated to
 excise taxes on certain com m oditiesincluding alcohol,tobacco,fireanus,and am m tm ition.
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               During your affiant's tim e w ith TTB 'S excise tax group,1 w orked w ith auditors

 and investigators who conduct tax audits and investigations that are focused on determ ining

 whether the proper am ount of federal excise tax has been paid on tobacco products and other

 regulated com m odities. How ever,TTB does not itself currently em ploy crim inal investigators

 who are em powered to perform the duties outlined in Title 26, U nited States Code, Section

 7608(b),which dutiesincludetheexecutionofsearchand arrestwarrants.BecauseTTB doesnot
 cuaently employ 1aw enforcementofficersto enforcethecriminalstatutesunderitsjurisdiction,
 Congress has provided TTB w ith funding to obtain the law enforcem ent personnel needed to

 conductcrim inalinvestigations.A s such,TTB entered into an inter-agency agreem entw ith IR S-

 CI.Under the inter-agency agreem ent,IR S-CI agents are detailed to TTB to investigate possible

 criminalviolationsunderTTB'Sjurisdiction.
               The inform ation contained in this affidavit is based on m y ow n investigation and

 infonnation received from TTB auditors and investigators,as well as other w itnesses and 1aw

 enforcem ent officers.This affidavitis subm itted forthe lim ited pum ose of establishing probable

 cause for the arrest ofA krum A LR AH IB forviolations of Title 18,U nited States Code,Section

 1512(b)(1), (b)(2), and (b)(3), that is, witness tampering in colmection with an official
 proceeding and 1aw enforcem entinvestigation.A ccordingly,this aftidavitdoesnotinclude every

 factknow n by m e and othersw ith respectto this investigation.

                                      PR O BA BLE C A U SE

                           O neoine Excise Tax Evasion Investization

               On July 21,2019,a Grand Jury sitting in the Southern D istrictof Florida issued

 two subpoenas:one to 1ST Brands,lnc.,a Florida tobacco distributor,and a second to 1ST

 Brands,lnc.'s officer and registered agent,J.G . The subpoenas called for testim ony as w ellas
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 records and other infonnation related to, am ong other individuals and entities, Akrum

 A LR AH IB- a defendant in a Federal excise tax evasion case currently pending before the

 Honorable DistrictJudge Rodney Sm ith.See U nited States v.A lrahib,Case N o. 19-20165-C11.
                                                                                           -

 Smith(S.D.Fla.),lndictment(ECF No.1j.Theindictmentinthependingcriminalcasewasfiled
 on M arch 28,2019,and charged ALRAH IB w ith offenses occurring betw een April 2013 and

 December2014.J-p.sat4.
        8.     Law enforcem ent is currently investigating A LR AH IB 'S ongoing participation in

 an excise tax evasion schem e on im ported tobacco products- the sam e type of conduct that

 formed the basis forthe conspiracy,wire fraud conspiracy,wire fraud,and excise tax evasion

 charges alleged in the indictm entin the above-num bered crim inalcase. ld.How ever,lnote that

 the excisetax evasion schemethatisthesubjectofthe ongoing Grand Jury investigation post-
 datesthe charges in the pending indictm entby severalyears.

        9.     Since M ay 2019, custom s officials have seized three (3) shipping containers

 loaded w ith cigars and other tobacco products m anufactured by A LR AH IB 'S D om inican

 Republic-based tobacco manufacturing company,FASST Holdings SRL (ûtFASST Holdings'').
 According to business records m aintained in the D om inican Republic,D efendanthas ow ned that

 com pany since in or around 2014.

        10.    The tobacco shipm ents intercepted by Custom s officials,along w ith severalm ore

 uninspected containers,w ere shipped to another one of A LR AH IB 'j com panies,IST Brands,

 lnc.CIIST Brands'').From December2018through July 8,2019,ALRAHIB wasthePresident,
 Vice President,and Registered A gent of IST Brands.O n July 9, 2019, in an am ended annual

 reportfiled w ith the State of Florida's D epartm entof State,IST Brands rem oved A LR AH IB as
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 officer and Registered Agentand replaced him with J.G.- ALRAHIB'S longtime friend and

 em ployee.

         11.      O nce Custom s officials learned of A LRAH IB 'S ongoing im portation of tobacco

 products,they recalled severalof the shipm ents for inspection. Based on Custom s records and

 other inform ation obtained during TTB 'S ongoing investigation,it appears that lST Brands has

 continued to distribute ALR AH IB 'S tobacco products follow ing A LR AH IB 'S release on bond in

 the indicted crim inal case. A ccording to Custom s records,lST Brands received approxim ately

 nine (9)shipments oftobacco products from FASST Holdings since ALRAHIB'Srelease on
 bond.

                  N otably,during thattim e period,A LR AH IB was prohibited from em ploym entin

 the tobacco industry, as a condition of his release on hom e detention. See United States v.

 Alrahib,CaseNo.19-20l65-CR-Smith (S.D.Fla.),M ay 17,2019 OrderSetting Conditionsof
 PretrialRelease (ECF No.40)at2. 1furthernote that,asa condition ofhishome detention,
 A LRAH IB resides atthe residence of C.K .,a friend ofA LR AH IB.ld.,July 20,2019 M otion to

 M odify Conditions ofBond (ECF NO.581at 1 (ûûEALRAHIBjhasremained confined to the
 CoralGablesresidenceofhisfamily friend gC.K.j,...,(C.K.J'ssister(REDACTEDJ,andtheir
 lnother....'')
         13.      The above-described cigar shipm ents, and the im portation doçum ents associated

 w ith them ,appear to show a consistent pattern of excise tax evasion. The evidence indicates

 A LRAH IB is engaged in a Ctself-dealing''schem e through a straw im porter- the sam e schem e

 A LR AH IB previously adm itted he used to fraudulently low er the excise tax due and owing on

 imported cigars between 2016 and 2017.
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        14.     In sum ,by m anufacturing the cigars at his D om inican com pany,and purchasing

 the tobacco from him self ata price thatdoes notreflectthe actualcostofthe cigars,A LRAH IB

 has fraudulently low ered the lkfirst sale price''on w hich the cigars are taxed. A LA RAH IB has

 previously participated in this type of schem e: as he explained to agents in M ay

 A LR AH IB previously recruited pass-through im porters to assist him in low ering his tax

 liabilities in thism anner.

                W ith respectto the ongoing activity,I note that,upon seizing D efendant's m ost

 recenttobacco shipm ent,Custom s ofticials inspected the cargo and found cigarspackaged in foil

 packs,each ofwhich contained two (2)cigarspre-labeled forretailsale attQ/$1.29''. On the
 back of these packs was the follow ing text:ûr istributed By:lST BRAN D S,IN C.M IA M I FL

 331665'. According to docum ents accom panying the shipm ent, A LR AH IB'S D om inican

 company charged the importer $.038 per cigar. The im porter then sold those cigars back to

 ALRAHIB'SFloridacompany (IST Brands)for$.0393,each- afraction oftheretailprice.This
 nom inalm arkup show s thatthe im porter w as sim ply a pass-tllrough,charging only enough to

 coverthe importer'scosts,theexcisetax due,andavery smallfee.See26 U.S.C.j 5703(a)(1)
 (imposing liability on theimporteroftobacco productsforthepaymentofexcisetaxespursuant
 to26U.S.C.j5701).
        16.     ln addition, bank records obtained during the course of m y investigation show

 large paym ents from ALRAH IB 'S Florida com pany, 1ST Brands,betw een February and A pril

 2019,to A LR AH IB'S D om inican com pany,FA SST Holdings. This suggests thatA LR AH IB is

 not reporting the actual first sales price used to calculate the am ount of tax due to the

 governm ent,butis instead fraudulently low ering the tax due on each shipm entby concealing the

 fundshiscompaniessentto FASST Holdingsto coverthetruecostofthecigars. Thisisjusta:
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 variation of the schem e charged in the indictment,which Defendantpreviously adm itted in a

 recorded interview w ith IR S-CIand TTB agents.

                          G rand Jury Subpoenas to J.G .;W itness Tam perinz

                A s noted, the G rand Jury issued tw o subpoenas to J.G ., the listed ofticer and

 registered agent of IST Brands.J.G .accepted service of the subpoenas on July 22,2019, and

 retained counseltllrough A LRA H IB'Scom pany.

         18.    O n A ugust 15, 2019, J.G . w as interview ed by an IR S-CI agent and A ssistant

 United StatesAttorneys. Also presentforthe interview ,via telephone,w as an investigator from

 the TTB . 1note thatJ.G .w as interview ed in the presence of counseland pursuantto a lim ited-

 use im m unity letter.

         19.    During the intelwiew ,J.G .stated thaton or aboutAugust2,2019,approxim ately

 oneweekbeforethereturn datelistedon thegrandjury subpoenas,C.K.invited J.G.to lunch at
 a seafood restaurant near M edley,Florida.A s noted,A LR AH IB is presently on hom e detention

 atC.K .'S residence.

                J.G .explained thatthe purpose ofthe m eeting w ith C .K .w as forC .K .to propose

 a w ay for J.G .to avoid testifying before the G rand Jury.A ccording to J.G .,during the lunch

 meeting,C.K.statedthathewasjustthemessenger.C.K.presented J.G.withtwo options.The
 firstoption presented by C.K .w as an offerto arrange forJ.G.to travelto M exico forthree to six

 years and earn $200,000 per year operating ALRAHIB'S businesses there.Underthis option,
 J.G .could not com e back to the U nited States and w ould have to avoid 1aw enforcem ent.J.G .

 could have no contactw ith fam ily m em bers in the U nited States.Underoption tw o,J.G .w as to

 Ctride itout''w ith A LR AH IB and the law yers.




                                                    6
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                A ccording to J.G .,in the first scenario,C.K .told J.G .that itw ould be better to

 leavetoM exicobeforethedateofthegrandjury.
                Subsequent to his interview w ith 1aw enforcem ent, J.G ., through counsel,

 identified the cellulartelephone used by C .K .to com m unicate w ith J.G .Location data associated

 with C.K.'Scellulartelephone contirm ed C.K .wqsin thevicinity oftheseafood restaurantwhere
 the above-described m eeting took place during the afternoon of A ugust 2,2019. ln addition,

 recordsm aintained by the restaurantconfirm ed C.K .paid forC .K .and J.G .'S lunch on A ugust2,

 2019,using C.K .'Screditcard.

                       A LR AH IB'S O nzoinz Tobacco-Related A ctivities

                     further explained that A LR AH IB continues to operate his various tobacco

 businesses w hile on hom e detention at C.K .'S residence.ln order to concealhis involvem ent,

 which is prohibited by the Court-im posed bond conditions, A LR AH IB com m unicates w ith

 em ployees,distributors,and others involved in A LR AH IB 'S tobacco com panies,including J.G .,

 tluough C.K .'S tw enty-tw o-year-old sister.A s noted,C.K .'S sister also resides at the residence

 where A LR AHIB isconfined.

        24.     As an exam ple,J.G .explained thathe w ould often ûûFaceTim e''w ith C.K .'S sister,

 who functionsas an adm inistrative assistantatIST Brands,to discuss the distribution and sale of

 tobacco products.J.G .noted thatA LR AH IB prefersûtFace-
                                                         l-im e''video chatsbecause A LRAH IB

 believes these com m unications cam zot be m onitored by law enforcem ent. During these video

 chats,A LR AH IB physically appeared behind C.K .'S sister,and w ould directC .K .'S sisterhow to

 answ erJ.G .'Squestions. J.G .estim ated thatthis had happened approxim ately ten tim es and that

 he had last interacted w ith A LR AH IB,through C .K .'s sister, a few days prior to the intelwiew

 w ith law enforcem ent.
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                              C.K .Interview w ith Law Enforcem ent

         25.     On Septem ber 13,2019, l traveled to C .K .'S w orkplace and served C.K .w ith a

  G rand Jury subpoena for testim ony and records concenzing C .K .'S com m unications w ith J.G .

  C .K .retained counselin connection w ith the G rand Jury subpoena.

         26.     On Septem ber 20, 2019, l interviewed C.K . along w ith A ssistant U nited States

  Attorneys. lnote thatC .K .w as interview ed in the presence ofcounseland pursuantto a lim ited-

  use im m unity letter.

         27.     During the interview,C .K .confinned that he w as approached by A LR AH IB ,at

  C.K .'S residence,a few days prior to the August 2nd lunch m eeting w ith J.G .A LR AH IB and

  C.K .discussed the plan to offerJ.G .an opportunity to avoid testifying before the G rand Jury.

         28.     During this conversation, ALRAH IB explained that C.K . should offer J.G . an

  opportunity to relocate to M exico and operate A LR AH IB 'S businesses there for a period offive

  to eightyears.ALRAH IB told C .K .to tellJ.G .thatJ.G.could notretul'
                                                                      n to the United States or

  contact J.G .'S fam ily m em bers during that tim e.A LR AH IB also directed C.K .to offer J.G .a

  second option:to Skride itout''w ith A LRA HIB and refuse to Cssnitch.''

         29.     W hen explaining the proposal to C.K ., A LR AH IB w rote out the tenns of the

  proposalon a piece ofpaper,including the proposalto relocate J.G .to M exico for severalyears

  in exchangefora$200,000per-yearsalary.C.K.noted that,imm ediately following ALRAHIB'S
  discussion w ith C.K .,A LR AH IB tore the paperinto piecesand discarded it.

                 C.K . contirm ed that he invited J.G . to lunch at the above-described seafood

  restaurant on A ugust 2, 2019. There, C.K . told J.G . that C.K . w as only functioning as a

  ttm essenger.''D uring the intelwiew w ith law enforcem ent, C.K .adm itted that, at A LR AH IB 'S

  direction,he presented J.G.with two options to avoid testifying before the grand Jury:(a)


                                                   8
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 relocateto Mexicoforseveralyearsinexchangeforasalaryof$200,000peryear,or(b)Cûrideit
 out''with A LRAH IB .

                 C.K .acknow ledged thatthepurpose ofthe m eeting w ith J.G .w as to persuade J.G .

 to avoid testifying before the Grand Jury.C.K .acknow ledged that it w as w rong to attem pt to

 persuade J.G .notto testify.

        32.      During the interview , C.K . stated that he had been avoiding A LRA HIB since

 being served w ith the G rand Jury subpoena.C .K .further explained thatfollow ing A LR AH IB 'S

 release on hom e detention atC.K.'Sresidence,ALRAHIB had loaned C.K.approximately $70-

 75,000 dollars,which sum C.K .had notrepaid.ln addition,C.K .acknow ledged thatpriorto his

 arrest,ALRAHIB had previously loaned him a sum ofapproxim ately $20,000,which C.K.had
 not repaid.C.K .explained that, in exchange for residing at C .K .'S residence,A LRA HIB also

 frequently paid bills,and provided gifts to C .K .'S fam ily m em bers.C.K .also acknow ledged that

 ALR AH IB paid C .K .'S sisterin exchange forherw ork on A LRAH IB 'S behalf.

                 W hen asked w hether ALR AH IB w as aw are that A LR AH IB 'S supervising

 Probation O fficer had recently w ritten a m em orandum to the Court outlining A LRAH IB 'S

 violations of the conditions of house arrest,C.K .responded thatA LRA H IB was aw are thatthe

 Probation Office had discovered som e m inorbond violation.

        34.      Follow ing the interview w ith law enforcem ent, C.K .provided,through counsel,

 severalûsscreenshots''of C .K .'S com m unications w ith J.G .,including a textm essage on A ugust

 2,2019,in w hich C .K .asked to ûtm eet up''w ith J.G .C .K .also provided a log of ALRAH IB 'S

 ûtFace-l-im e'' calls w ith C .K . C.K . explained that A LR AH IB preferred com m unicating via

 ûsFace-fim e'' because A LRAH IB believed û'Face-l-im e'' chats could not be tracked by law

 enforcem ent.


                                                 9
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                                      C O N C LU SIO N

                Based on m y training and experience, and the inform ation provided in this

  affidavit,there isprobable causeto believe thaton oraboutthedatessetforth above, w ithin the

  Southern District of Florida,Akrum ALRAHIB did comm it the following offenses:witness

 tampering in connection with an official proceeding and law enforcement investigation, in

 violation ofTitle 18,United StatesCode, Section 1512(b)(1),(b)(2),and(b)(3).

        FUR THER A FFIAN T SA Y ETH N O T.




                                                         J       iddons
                                                             ecialA gent,IR S-CI
 Subscri d and sw orn to before m e
 this   day ofSeptember,



 HO          E JONATHAN GOODM AN
 1.,
   1N 1 E STA TES M A GISTR ATE JU D G E
